             Case 2:11-cr-00354-TLN Document 54 Filed 02/27/13 Page 1 of 3


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 3   801 I Street, 3rd Floor
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 4   Telephone (916) 498-5700

 5   Attorney for Defendant
     OSCAR GOMEZ GORIBALDO
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 7
 8                        IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,    )        No. 2:11-cr-354 LKK
12                                )
                  Plaintiff,      )        STIPULATION AND ORDER
13                                )        CONTINUING STATUS CONFERENCE
             v.                   )        AND EXCLUDING TIME
14                                )
     EVARISTO ARREOLA VENTURA,    )        DATE: March 26, 2013
15   and OSCAR GOMEZ GORIBALDO, )          TIME: 9:15 a.m.
                                  )        JUDGE: Hon. Lawrence K. Karlton
16                Defendants.     )
     ____________________________ )
17
18      It is hereby stipulated and agreed to between the United States of
19   America through TODD LERAS, Assistant U.S. Attorney, and defendant
20   OSCAR GOMEZ GORIBALDO by and through his counsel, BENJAMIN GALLOWAY,
21   Assistant Federal Defender and defendant EVARISTO ARREOLA-VENTURA, by
22   and through his attorney, DINA L. SANTOS, that the status conference
23   set for Tuesday, February 26, 2013, be continued to Tuesday, March 26,
24   2013, at 9:15 a.m., for status conference.
25      The reason for this continuance is to allow defense counsel
26   additional time to review discovery with the defendant, to examine
27   possible defenses and to continue investigating the facts of the case.
28   / / /
           Case 2:11-cr-00354-TLN Document 54 Filed 02/27/13 Page 2 of 3


 1      It is further stipulated that the time period from the date of this
 2   stipulation, through and including the date of the new status
 3   conference, March 26, 2013, shall be excluded from computation of time
 4   within which the trial of this matter must be commenced under the
 5   Speedy Trial Act, pursuant to 18 U.S.C. §§ 3161 (h)(7)(B)(iv)and Local
 6   Code T4 [reasonable time for defense counsel to prepare], and that the
 7   ends of justice served by the granting of such continuance outweigh the
 8   interests of the public and the defendant in a speedy trial.
 9   DATED: February 21, 2013             Respectfully submitted,
10                                        JOSEPH SCHLESINGER
                                          Acting Federal Defender
11
                                          /s/ Benjamin Galloway
12                                        BENJAMIN GALLOWAY
                                          Assistant Federal Defender
13                                        Attorney for Defendant
                                          OSCAR GOMEZ GORIBALDO
14
15
                                          /s/ Benjamin Galloway for
16                                        DINA L. SANTOS
                                          Attorney for Defendant
17                                        EVARISTO ARREOLA-VENTURA
18
     DATED: February 21, 2013             BENJAMIN B. WAGNER
19                                        United States Attorney
20                                        /s/ Benjamin Galloway for
                                          TODD LERAS
21                                        Assistant U.S. Attorney
                                          Attorney for Plaintiff
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23
24                                  O R D E R
25      Based on the stipulation of the parties and good cause appearing
26   therefrom, the Court hereby adopts the stipulation of the parties in
27   its entirety as its order.     It is hereby ordered that the presently set
28   February 26, 2013, status conference shall be continued to March 26,


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           Case 2:11-cr-00354-TLN Document 54 Filed 02/27/13 Page 3 of 3


 1   2013, at 9:15 a.m.   It is further ordered that the time period from the
 2   date of the parties' stipulation, through and including the date of the
 3   new status conference hearing, March 26, 2013, shall be excluded from
 4   computation of time within which the trial of this matter must be
 5   commenced under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161
 6   (h)(7)(B)(iv) and Local Code T4 [reasonable time for defense counsel to
 7   prepare].
 8      Based on the stipulation of the parties and good cause appearing
 9   therefrom, the Court hereby finds that the failure to grant a
10   continuance in this case would deny defense counsel reasonable time for
11   effective preparation taking into account the exercise of due
12   diligence.   The Court specifically finds that the ends of justice
13   served by the granting of such continuance outweigh the interests of
14   the public and the defendant in a speedy trial.
15      IT IS SO ORDERED.
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     DATED: February 26, 2013
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